              IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
                         1:18-cv-00332-MR

KAYIE WRIGHT,                               )
                                            )
                         Plaintiff,         )
                                            )           ORDER
v.                                          )
                                            )
FNU DAVIS                                   )
Marion Corr. Inst. E-Unit Officer,          )
                                            )
                      Defendant.            )
__________________________________          )

      This matter is before the undersigned following the Order of the District

Court referring this case for a judicial settlement conference. Doc. 76.

      A judicial settlement conference is set for Tuesday, November 16, 2021

from 1:00 p.m. to 3:00 p.m.

      The conference will be conducted by telephone. Call-in information will

be provided to Defendant by separate communication, and defense counsel is

responsible for ensuring that Plaintiff, through notice to the Warden and/or

Plaintiff’s case manager at Plaintiff’s present place of incarceration, receives a

copy of this Order and the call-in information.

      Plaintiff shall participate in the conference from Scotland Correctional

Institution, Plaintiff’s present place of incarceration. Scotland Correctional

Institution shall ensure that the necessary accommodations are made to allow




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Plaintiff to participate in the settlement conference. To the extent possible,

Plaintiff shall be allowed to participate in the settlement conference in a

private setting and with access to his case materials.

      Defendant and his counsel may participate in the conference from any

location they deem appropriate, provided that Defendant and his counsel

participate using a single conference line. Further, in accordance with this

district’s Local Civil Rule 16.3(d)(2), a person with full authority (not including

counsel of record) to settle all pending claims must also participate in the

conference on behalf of Defendant, to the extent Defendant himself does not

have such authority. Any such person shall also participate using the same

conference line as Defendant and his counsel.

      Any request seeking permission to modify the terms of this Order shall

be filed no later than November 9, 2021 or be subject to summary denial.

      Defense counsel shall ensure that the Warden and/or Plaintiff’s case

manager at Scotland Correctional Institution receive notice of the conference,

including call-in information and a copy of this Order.

      The Clerk is respectfully directed to certify a copy of this Order to the

Warden at Scotland Correctional Institution.
                                  Signed: October 4, 2021
      It is so ordered.




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